 Case 8:20-cv-00291-DOC-ADS Document 49 Filed 10/27/21 Page 1 of 1 Page ID #:228



                                                                                  JS-6
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL


 Case No.       SA CV 20-00291-DOC -ADSx                            Date       October 27, 2021

 Title          Robyn Cosslett v. Laguna Treatment Hospital



 Present: The Honorable         DAVID O. CARTER, UNITED STATES DISTRICT JUDGE
                      Karlen Dubon                             None Reported
                      Deputy Clerk                       Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                    None Present                                       None Present


 PROCEEDINGS:             (IN CHAMBERS) ORDER DISMISSING ACTION ON STIPULATION
                          TO DISMISS WITH PREJUDICE


      The Court, having been advised that this action has been resolved by a Stipulation of
Dismissal [48], hereby orders this action dismissed with prejudice. The Court hereby orders all
proceedings in the case vacated and taken off calendar.




                                                                                      -    :       -
                                                    Initials of Deputy Clerk    kdu




CV-90 (06/04)                             CIVIL MINUTES - GENERAL                              Page 1 of 1
